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                             UNITED STATES DISTRICT COURT
                                            FOR THE
                               WESTERN DISTRICT OF TEXAS
                                       San Antonio Division
MARIA LINDA MORA;                                    )
   Natalia, TX 78059                                 )
MUSTAPHA OUKASSI,                                    )
   East Ait Abdoune Boumalne Dades                   )
   Tinghir, Morocco 45000                            )
                                                     )    Civil Action No. 5:25-cv-652
                                                     )
                        Plaintiff(s)                 )
                                                     )
                v.                                   )
                                                     )
KRISTI NOEM, in her official capacity,               )
Secretary, U.S. Department of Homeland               )
Security;                                            )
ANGELICA ALFONSO-ROYALS, in her                      )
official capacity, Director, U.S. Citizenship and    )
Immigration Services;                                )
    2707 Martin Luther King Jr. Ave, SE              )
    Washington, DC 20528-0485                        )
                                                    )
PAM BONDI, in her official capacity,                 )
Attorney General, Office of Attorney General,        )
U.S. Department of Justice;                          )
     950 Pennsylvania Avenue, NW                     )
     Washington, DC 20530-0001                       )
                                                     )
MARCO RUBIO, in his official capacity,               )
Secretary, U.S. Department of State;                 )
    U.S. Department of State                         )
    2201 C St. NW                                    )
    Washington, DC 20520                             )
                                                     )
SHANE MYERS, in his official capacity,               )
Principal Deputy Assistant Secretary,                )
Bureau of Consular Affairs,                          )
AIMEE CUTRONA, in her official capacity,             )
Chargée d'Affaires, United States                    )
Consulate General, Casablanca, Morocco;              )
JOHN DOE, in his official capacity, Consular         )
Officer, U.S. Consulate General, Casablanca,         )
Morocco,                                             )
    U.S. Department of State                         )



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      2201 C St. NW                                  )
      Washington, DC 20520                           )
                                                     )
                    Defendant(s).                    )
______________________________________

       PLAINTIFFS’ ORIGINAL COMPLAINT FOR WRIT IN THE NATURE OF
     MANDAMUS AND VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT

Sadaf Ahmed, Attorney for Plaintiff, JEELANI LAW FIRM, PLC, 3701 W. Algonquin Road, Ste.

630, Rolling Meadows, IL 60008, Ph: 312-767-9030, Facsimile: 312-549-9981, Email:

sadaf@jeelani-law.com

                                       INTRODUCTION

        COME NOW MARIA LINDA MORA (hereinafter “Plaintiff MORA” or collectively

“Plaintiffs”) and MUSTAPHA OUKASSI (hereinafter “Plaintiff OUKASSI” or collectively

“Plaintiffs”), Plaintiffs by and through the undersigned attorney, in the above cause, and state as

follows:

1.      Plaintiff MORA is the U.S. citizen fiancée of Plaintiff OUKASSI, a citizen of Morocco.

On April 29, 2022, Plaintiff MORA lawfully filed Form I-129F, Petition for Alien Fiance(e)

(hereinafter “Petition”) with the United States Citizenship and Immigration Services (hereinafter

“USCIS”). The Form I-129F was approved on May 25, 2023.

2.      Following the approval of the Form I-129F Petition, Plaintiff MORA’s approved Form I-

129F Petition was sent to the Department of State’s National Visa Center (“NVC”) and received

by NVC in or around August 2023.

3.      Plaintiff OUKASSI properly and completely submitted his Form DS-160 on October 25,

2023, and thereafter attended his visa interview with the U.S. Consulate General in Casablanca,

Morocco, on May 28, 2024. On May 28, 2024, the same day as the interview, Plaintiff was given




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a notice informing him that the case would be placed in administrative processing pending further

review.

4.        Shortly thereafter, Plaintiffs were informed that the approved Form I-129F Petition was

being returned to NVC in order to be sent back to USCIS for reconsideration.

5.        Plaintiff MORA’s Form I-129F was valid from May 25, 2023, through September 24,

2023. However, Defendants allowed the approved Petition to lapse without revalidation, given the

significant delay following its return to the National Visa Center (NVC) and subsequently to

USCIS. This intentional delay constitutes a violation of Plaintiff MORA’s due process rights.

6.        Plaintiffs have been denied the opportunity to address or challenge the Consular Officer’s

concerns regarding Plaintiff OUKASSI’s eligibility for the K-1 visa.

7.     This action is brought as a result of Respondents' failure to adjudicate Plaintiff MORA’s

Fiancé(e) Visa Petition (hereinafter “Petition”) and Plaintiff OUKASSI’s Immigrant Visa

Application (hereinafter “Application”) in accordance with the governing laws and regulations.

8.        Additionally, Defendants’ failure to timely return Plaintiff MORA’s approved Form I-

129F Petition to USCIS, has deprived Plaintiffs of the opportunity to contest the Consular Officer’s

concerns regarding Plaintiff OUKASSI’s eligibility for the requested immigration benefit.

9.        Plaintiffs have a clear right to rebut the Consular Officer’s determination regarding

Plaintiff OUKASSI’s eligibility, and challenge the delay in returning Plaintiff MORA’s approved

Form I-129F Petition to USCIS within a timely manner.

10.       The failure to act on Plaintiff MORA’s approved Form I-129F Petition and return the

approved Form I-129F to USCIS prior to its expiration and the failure to issue a Notice of Intent

to Revoke, has caused undue hardship to Plaintiff MORA and Plaintiff OUKASSI who remain




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unable to marry because Plaintiff OUKASSI cannot travel to the United States under the K-1

Fiancé(e) Visa classification.

11.    Defendants cannot reasonably rely on COVID-19 as a justification for their failure to return

the approved Form I-129F Petition to USCIS within a timely manner, as there were no in-person

interactions required for the timely return of the approved Petition. Accordingly, COVID-19-

related issues do not constitute a valid defense for the failure to act before the Petition's validity

expired.

12.    Defendants acted in violation of Plaintiff MORA’s due process rights by returning her

approved Form I-129F petition to USCIS without taking the necessary steps to preserve its validity.

By allowing the approved petition to expire, Defendants effectively denied Plaintiff the

opportunity to challenge or rebut the Consular Officer’s concerns regarding her fiancé’s eligibility

for a K-1 visa. This failure not only undermined the procedural safeguards afforded to Plaintiff

under the law but also deprived her of a meaningful opportunity to be heard in connection with a

petition that had already been adjudicated in her favor.

13.    Defendants are in violation of the Administrative Procedures Act, 5 U.S.C. § 701 et seq.,

and the Fifth Amendment Due Process Clause of the Constitution as it pertains to Plaintiff

MORA’s rights. As such, this action is brought to compel Defendants to reopen, approve and

revalidate Plaintiff MORA’s Fiancé(e) Visa Petition.


                                                 PARTIES

14.    Plaintiff MARIA LINDA MORA is a U.S. citizen, and for purposes of the instant case, she

is a resident of Medina County, Texas. She is the Petitioner of an approved Form I-129F Petition

for Alien Fiance(e), naming her fiancé, Plaintiff OUKASSI, as the named beneficiary.




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15.    Plaintiff MUSTAPHA OUKASSI is a citizen and resident of Morocco. He is the

beneficiary of an approved Form I-129F, Petition for Alien Fiance(e), filed by his U.S. citizen

fiancée, Plaintiff MORA. The approved Form I-129F Petition allows beneficiary qualification for

Plaintiff OUKASSI to apply for a non-immigrant visa to travel to the United States in order to

marry Plaintiff MORA within 90 days of his arrival. Plaintiff OUKASSI is the applicant of a

pending non-immigrant visa application.

16.     Defendant KRISTI NOEM is the Secretary of the United States Department of Homeland

Security (hereinafter “DHS”). This action is filed against her in her official capacity. Defendant

NOEM is responsible for the enforcement of the INA and for the delegation of adjudicatory and

discretionary authority to other employees of the DHS and USCIS pursuant to 8 U.S.C. § 1103(a);

8 C.F.R. § 2.1.

17.     Defendant ANGELICA ALFONSO-ROYALS is the Director of USCIS; she is an official

generally charged with supervisory authority over all operations of USCIS under 8 C.F.R. § 103.1.

This action is filed against her in her official capacity

18.     Defendant PAM BONDI is the Attorney General of the United States; she is an official

generally charged with supervisory authority over all operations of the Department of Justice

(hereinafter “DOJ”) under 28 C.F.R. § 0.5. This action is filed against her in her official capacity.

19.     Defendant MARCO RUBIO is the duly appointed Secretary of the United States

Department of State (hereinafter “DOS”). He is the head of the Department of State and is

responsible for setting and overseeing implementation of the policies and procedures employed by

the U.S. Department of State and all its various subdivisions, including the Bureau of Consular

Affairs, U.S. Embassies This action is filed against him in his official capacity.




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20.     Defendant SHANE MYERS is the Principal Deputy Assistant Secretary, for the Bureau of

Consular Affairs. As Assistant Secretary, he is responsible for setting and overseeing

implementation of the policies and procedures employed by the Bureau of Consular

Affairs. This action is filed against him in his official capacity.

21.    Defendant AIMEE CUTRONA is the Chargée d’Affaires of the United States

Consulate General in Casablanca, Morocco. She is the principal officer in charge of the Consulate

General. This action is filed against her in her official capacity.

22.   Defendant JOHN DOE is a Consular Officer at the United States Consulate General in

Casablanca, Morocco. This action is filed against him in his official capacity.

                                   JURISDICTION AND VENUE

23.     This Court has jurisdiction to hear this complaint, and the claims stated herein by virtue of

28 U.S.C. §§ 1331, and § 1361 because this is a federal mandamus action brought to compel

Defendants to perform their statutory duties owed to the Plaintiff. This Court has additional

jurisdiction by virtue of the Administrative Procedures Act, 5 U.S.C. § 701, et seq.

24.     Venue is proper in the District Court for the Western District of Texas pursuant to 28

U.S.C. § 1391(e) in that this is the district in which Plaintiff MORA resides, and no real property

is at issue in the instant case.

                                   EXHAUSTION OF REMEDIES

25.     Plaintiffs repeatedly requested the Defendants to provide them with an update on the status

of Plaintiff OUKASSI’s visa application. Furthermore, Plaintiff initiated numerous inquiries with

USCIS, NVC, and the U.S. Consulate General in Casablanca, Morocco, all to no avail.

26.     Plaintiffs have exhausted their administrative remedies.

27.     There are no further administrative remedies available for Plaintiffs to utilize.




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                               STATUTORY BACKGROUND

28.   To obtain lawful permanent resident status, the fiancé(e) of a U.S. citizen must first secure

a K-1 visa from a U.S. Embassy or Consulate abroad. This process begins with the U.S. citizen

filing Form I-129F (Petition for Alien Fiancé(e)) with the Department of Homeland Security

(DHS), through U.S. Citizenship and Immigration Services (USCIS). See 8 U.S.C. § 1184(d); 8

C.F.R. § 214.2(k)(1). Approval of a K-1 petition requires that the couple has met in person within

the two years preceding the petition’s filing and that they intend to marry within 90 days of the

foreign fiancé(e)’s entry into the United States. 8 U.S.C. § 1184(d)(1).

29.   Once approved, a K-1 petition is valid for four months. 8 C.F.R. § 214.2(k)(5). Consular

officers have the discretion to extend the four-month validity period of the underlying Petition, an

authority frequently exercised by consular officers given the significant delay in adjudicating these

visa applications.

30.   Recognizing the unique status of U.S. citizens’ spouses and fiancé(e)s in immigration law,

Congress has established a policy requiring the State Department to process all visa applications

for a U.S. citizen’s spouse or K-1 fiancé(e) within 30 days of receiving all required documentation

from both the applicant and USCIS. See 8 U.S.C. § 1201 note 6; Act of Sept. 30, 2002, Pub. L.

107-228, Div. A, Title II, Subtitle C, § 233, 116 Stat. 1373.

31. In general, non-immigrant visas requiring prior USCIS approval are processed using less

formal and less document-intensive procedures compared to immigrant visas. However, although

the K-1 visa is categorized as non-immigrant, the State Department treats it as though it were an

immigrant visa. As a result, K-1 visas are only issued at select consular posts designated to handle

immigrant visa processing, concentrating these applications at a limited number of Embassies and

Consulates.



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32.    If, based on the visa application or supporting documents, a consular officer determines

that a K-1 applicant is ineligible for a visa; the officer is required to refuse issuance pursuant to 8

U.S.C. § 1201(g). Following such a refusal, State Department policy directs that the K-1 petition

be returned to the National Visa Center (NVC) with a recommendation for revocation. See 9 FAM

41.81 N.6.5.

33.     If the K-1 petition is denied, DHS/USCIS shall explain in writing the specific reasons for

denial and notify the petitioner of the right to appeal. Denials of K-1 petitions may be appealed to

the Administrative Appeals Office (“AAO”), by submitting within 30 days of the decision a Notice

of Appeal form (Form I-290B) with the Service Center that denied the petition. 8 C.F.R §

103.3(a)(2)(i).

34.    Despite routinely informing petitioners and beneficiaries that they will have an opportunity

to rebut such findings, the State Department is aware that this representation is false and

misleading, and applicants are deprived of an opportunity to rebut the consular officer’s findings

because the approved petition is allowed to expire without USCIS issuing a Notice of Intent to

Revoke (NOIR).

35.    After a petition is returned, the National Visa Center (NVC) forwards it to the USCIS, which

will then send it to the USCIS office that originally processed the petition. However,

DHS/USCIS/CSC routinely delays action on these returned K-1 petitions for six months or

longer—sometimes over a year. USCIS regularly declines to take any further steps, citing the four-

month validity period set forth in 8 C.F.R. § 214.2(k)(5), and asserting that the petition has expired

due to delays caused by the agencies themselves. As a result, USCIS fails to review the returned

petitions and does not afford petitioners an opportunity to rebut the consular officer’s findings or

to appeal the agency’s failure to act.




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                                              FACTUAL ALLEGATIONS

36.       Plaintiff OUKASSI is the beneficiary of an approved I-129F, Petition for Alien Fiancé(e),

and as such qualifies for the issuance of a non-immigrant visa in order to be able to be able to

travel to the United States and marry his fiancée, Plaintiff MORA. [Exhibit A].

37.      On or around August 29, 2023, the approved Form I-129F, Petition for Alien Fiancé(e)

was sent to the National Visa Center (hereinafter “NVC”) and Plaintiffs received the welcome

email from the NVC.

38.      On October 25, 2023, Plaintiff OUKASSI properly submitted his Form DS-160 Online

Non-Immigrant Visa Application through the Department of State’s Consular Electronic

Application Center. [Exhibit B].

39.      Following the submission of his Form DS-160 and other required civil documents, Plaintiff

OUKASSI was scheduled for an immigrant visa interview at the U.S. Consulate General in

Casablanca, Morocco.

40.      On May 28, 2024, Plaintiff OUKASSI appeared at the U.S. Consulate General in

Casablanca, Morocco, for an immigrant visa interview. At the conclusion of the interview, Plaintiff

was informed that his case was being placed under 221(g) administrative processing.1 [Exhibit

C].




1
  Plaintiffs’ claim is not barred by the doctrine of consular nonreviewability. (See, Nine Iraqi Allies v. Kerry, 168 F.
Supp. 3d 268, 288 (D.D.C. 2016); where the Court concluded that administrative processing constituted a required
interim step . . . occurring after the interview and preceding the medical examination, yet it did not represent a final
decision. (Id. at 284-85). Furthermore, the Court noted that where applicants were subject to multi-step processing
then this did not constitute a final refusal (decision). Id.; See also, Afghan & Iraqi Allies v. Pompeo, No. 18-cv-1388,
2019 WL 367841, at *9-10 (D.D.C. Jan. 30, 2019) (Court reviewed evidence showing DOS policy “mandates
administrative processing” after the interview; a “mandatory intermediate step” rather than a final refusal); See also,
Al Gharawy, 2022 WL 2966333, at *9 (INA § 221(g); Patel v. Reno, 134 f.3d 929, 931 (9 th Cir. 1997) (finding that
a [221(g) “refusal” under 22 C.F.R. § 41.121(a) is not final).




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41.    Thereafter, Plaintiffs were informed that the approved Petition was being returned to NVC

for being sent back to USCIS.

42.    Plaintiffs were profoundly distressed upon learning that the consular officer had chosen to

return the approved Form I-129F petition to the National Visa Center, thereby triggering a process

that could ultimately lead to the revocation of Plaintiff MORA’s petition.

43.    On September 25, 2025, Plaintiff OUKASSI received written communication from U.S.

Consulate General in Casablanca, Morocco, informing him that it was unable to revalidate Plaintiff

MORA’s Form I-129F K1 visa Application, and would be returning it to the NVC for transfer back

to USCIS. Furthermore, Plaintiff was informed that by the time USCIS receives the returned

Petition it would have expired.

44.    Neither Plaintiff MORA nor her fiancé, Plaintiff OUKASSI, were given any opportunity

to contest the Consular Officer’s decision to return the approved Form I-129F petition to the

National Visa Center (NVC) or subsequently to USCIS. Moreover, as a result of Defendants’ own

delay in transmitting the approved petition back to the NVC and then to USCIS, Plaintiff MORA’s

approved Form I-129F petition expired before any further action could be taken.

45.    The State Department has consistently failed to either issue K-1 visas to the fiancé(e)s of

U.S. citizens or to timely notify petitioners and beneficiaries that the approved petition will be

returned to DHS/USCIS following the consular interview. This systemic delay undermines

Congress’s clear intent to afford fiancé(e)s of U.S. citizens expedited processing and preferential

treatment, resulting in unreasonable and unjustified delays across the entire K-1 visa process.

46.    On March 12, 2025, Plaintiff MORA received written communication from USCIS

informing her that the validity period of her approved Form I-129F had expired.




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47.     Plaintiffs have endured significant emotional distress as a result of the prolonged and

unjustified delay, as well as the mishandling of Plaintiff MORA’s Form I-129F petition. They have

been denied any meaningful opportunity to challenge or rebut the Consular Officer’s decision to

return the approved petition to the National Visa Center and subsequently to USCIS.

48.     Plaintiff OUKASSI has been compelled to remain separated from his U.S. citizen fiancée,

Plaintiff MORA. In addition, Plaintiff MORA has been deprived of her right as a U.S. citizen to

have Plaintiff OUKASSI enter the United States for the purpose of marrying her within the

required 90-day period and subsequently adjusting his status to that of a lawful permanent resident.

                                                    COUNT I

      VIOLATION OF THE APA- FAILURE TO REMAND PREVIOUSLY APPROVED
           FORM I-129F TO USCIS WITHIN THE VALIDITY PERIOD AND
                ISSUE NOTICE OF INTENT TO REVOKE (“NOIR”)

49.     All prior paragraphs are re-alleged as if fully stated herein.

50.     Defendants, the U.S. Consulate General in Casablanca, Morocco, had a duty to return the

previously approved petition to USCIS with its memorandum explaining their recommendation

for revocation of the previously approved petition pursuant to 8 CFR 205.2.

51.     Pursuant to 8 C.F.R. § 205.2(a), (b), Defendants had a duty to Plaintiffs to provide Plaintiffs

with sufficient notice and information to respond to an NOIR. See 8 C.F.R. 214.2(h)(11)(iii)(B); 8

C.F.R. § 103.2(b)(8)(iv); 8 C.F.R. 103.8(b).2

52.     The APA authorizes a court to hold unlawful and set aside agency action that is "arbitrary"

or "capricious." 5 U.S.C. § 706(2)(A). Defendants conduct in the instant case is both.

53.     The duty owed to Plaintiff is ministerial and so plainly prescribed as to be clear and free

from doubt.


2
 Under 8 C.F.R. § 103.2(b)(8)(iv), Petitioners have a maximum of 30 days to respond to a NOIR, and pursuant to §
103.8(b), Plaintiffs will have an additional three days to respond if USCIS issues the notice via mail.


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54.     No other adequate remedy is available to Plaintiffs.

55.     Defendants have failed in their duties to provide Plaintiffs sufficient and adequate

information of their intent to revoke the Form I-129F Petition, and have failed to give sufficient

notice and time to allow Plaintiffs the opportunity to respond to the NOIR, effectively depriving

Plaintiffs the opportunity to rebut the concerns of the Consular Officer.

56.     Defendants failure to comply with 8 CFR 205.2, necessarily means that it has also failed

in its duty to complete the adjudicative process by failing to either issue a revocation or revalidate

the approved petition prior to the expiration of its validity period.

57.     Defendants' actions in this case are, as a matter of law, arbitrary, capricious, or otherwise

not in accordance with the law, and in violation of Plaintiff MORA’s rights.

58.     Defendants have violated the Administrative Procedure Act, 5 U.S.C. § 701 et seq., as they

have failed to carry out the adjudicative functions delegated to them by law with regard to

Plaintiffs’ case.

                                               COUNT II

                       VIOLATION OF DUE PROCESS- USCIS AND DOS

59.    All prior paragraphs are re-alleged as if fully stated herein.

60.     Plaintiffs have a constitutionally protected interest in the adjudication of the Form I-129F

petition and in the procedural fairness of the K-1 visa process.

61.   The Due Process Clause of the Fifth Amendment to the United States Constitution

 prohibits the federal government from depriving any person of liberty or property without due

 process of law.

62.     By failing to provide Plaintiffs with notice and an opportunity to respond to the consular




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officer’s findings, and by withholding review or adjudication of the returned petition, Defendants

have violated Plaintiffs’ due process rights under the Fifth Amendment. Furthermore, by failing to

furnish Plaintiff OUKASSI with a facially legitimate, factually supported, and legally sufficient

explanation for the visa refusal—or for the return of the petition to USCIS—the Defendants,

specifically the U.S. Consulate General, have infringed upon Plaintiff MORA’s due process rights.

63.    Defendants’ conduct deprives Plaintiffs of any meaningful opportunity to contest the

Consular Officer’s adverse findings or obtain final adjudication of their petition.

64.    Defendants had sufficient time to return the approved Petition to NVC and thereafter

USCIS allowing Plaintiffs an opportunity to rebut the Consular Officer’s decision to return the

approved Form I-129F Petition.

65.    Given the Defendants’ lack of a reason for not returning Plaintiff MORA’s approved

Petition within a reasonable period of time, thereby allowing the validity period of the approved

Petition to expire, Defendants have deprived Plaintiff MORA of her due process rights.

66.    In addition, as a result of this delay, Plaintiffs have incurred enormous costs and now

significant attorney's fees. As a result of Defendants’ actions, the lives of Plaintiff MORA and

Plaintiff OUKASSI remain in limbo, as Plaintiff MORA has been denied the right to marry and

reside with Plaintiff OUKASSI in the United States.


                                              COUNT III

VIOLATION OF THE APA FAILURE TO FOLLOW PROCEDUE UNDER 8CFR § 205

67.    All prior paragraphs are re-alleged as if fully stated herein.

68.    Plaintiff has a statutory right to apply for a fiancé(e) visa pursuant to 8 U.S.C. §1184(d).

69.    Defendants have a duty to comply with the procedures outlined under 8 CFR § 205

regarding the revocation of approval of petitions.



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70.     The duty owed to Plaintiffs is ministerial and so plainly prescribed as to be clear and free

from doubt.

71.     No other adequate remedy is available to Plaintiff.

72.     Given the Defendants’ failure to send the approved Form I-129F Petition back to USCIS

in accordance with procedural requirements pursuant to 8 CFR § 205, Defendants have grossly

mishandled Plaintiffs’ case.

73.     Defendants have failed in their statutory duty to send the approved Form I-129F Petition,

back to USCIS along with their memorandum explaining why Plaintiff OUKASSI is ineligible for

the requested immigration benefit.

74.     Defendants' delay in this case is, as a matter of law, arbitrary, capricious, or otherwise not

in accordance with the law, and in violation of Plaintiff MORA’s due process rights pertaining to

her familial choices. Defendants have willingly failed to comply with the statutory requirements

for the appropriate handling of Plaintiff MORA's approved Form I-129F Petition, thereby grossly

mishandling the case by failing to send the approved Form I-129F Petition packet back to USCIS

prior to the expiration of its validity period, effectively depriving Plaintiffs of their right to a fair

adjudication of their case.

75.     In addition, as a result of this delay, Plaintiffs have incurred enormous costs and now

significant attorney's fees; in effect, Plaintiffs lives are on hold due to Defendants' actions.



                                          PRAYER FOR RELIEF

WHEREFORE, the Plaintiff respectfully prays:




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       1. That the Defendants be cited to appear herein and that, upon due consideration, the Court

enter an order mandating a time certain for Defendants to revalidate the Form I-129F Petition, and

if applicable, issue a Notice of Intent to Revoke.

       2. In the alternative, that the Court compel Defendants, and those acting under them, to

perform their duty to review and revalidate Plaintiff MORA’s Form I-129F petition, and if

applicable, issue a Notice of Intent to Revoke immediately.

       3. Finally, that the Court award reasonable attorney's fees under the Equal Access to Justice

Act, 5 U.S.C. § 504, and such other and future relief as this Court deems proper under the

circumstances.

 Date: June 11, 2025                                           Respectfully submitted,

                                                                 /s/ Sadaf F. Ahmed
                                                               Sadaf F. Ahmed, Esq.
                                                               JEELANI LAW FIRM, PLC
                                                               3701 W. Algonquin Road, Ste. 630
                                                               Rolling Meadows, IL 60008
                                                               sadaf@jeelani-law.com
                                                               Phone:(312) 767-9030
                                                               Fax: (312) 549-9981
                                                               Counsel for Plaintiffs




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